Case 1:22-cv-01019-JDB-jay Document 7 Filed 02/15/22 Page 1 of 6             PageID 108




  IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT
                  OF TENNESSEE, JACKSON DIVISION


  OPAL DEVONISHA HOPSON,                       )
  Individually, and OPAL DEVONISHA             )
  HOPSON as Next Friend, Parent and            )
  Legal Guardian of DYNASTIE                   )
  DOUBLASS, a Minor; and OPAL                  )
  DEVONISHA HOPSON, as Next Friend,            )
  Parent and Legal Guardian of                 )
  LEVI STEWART, a Minor,                       )
                                               )
                    Plaintiffs,                )
                                               )
  v.                                           )           Case No. 1:22-cv-01019
                                               )           JURY DEMAND (12)
  JOAQUIN MILLAR,                              )
  CSC LOGISTICS, and                           )
  RO TRANS FREIGHT LLC,                        )
                                               )
                    Defendants.                )


       JOAQUIN MILLAR’S, CSC LOGISTICS’, AND RO TRANS FREIGHT LLC’S
                        ANSWER TO THE COMPLAINT


        Comes now Defendants Joaquin Millar, CSC Logistics, Ro Trans Freight LLC and

responds to the Plaintiffs’ Complaint as follows:

        1.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit the allegations

contained in paragraph 1 of the Plaintiffs’ Complaint based upon information and belief.

        2.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit that Joaquin

Millar is a resident of Houston, Texas and that he was employed by RO Trans Freight,

LLC and was driving a truck registered to CSC Logistics.

        3.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit the allegations

contained in paragraph 3 of the Plaintiffs’ Complaint.
Case 1:22-cv-01019-JDB-jay Document 7 Filed 02/15/22 Page 2 of 6                 PageID 109




       4.     Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit the allegations

contained in paragraph 4 of the Plaintiffs’ Complaint.

       5.     Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit the allegations

contained in paragraph 5 of the Plaintiffs’ Complaint.

       6.     Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit that there was

an accident on December 17, 2020 and demand strict proof of the remaining allegations

contained in paragraph 6 of the Plaintiffs’ Complaint.

       7.     Joaquin Millar, CSC Logistics, Ro Trans Freight LLC are without knowledge

or information sufficient to admit or deny the allegations contained in paragraph 7 of the

Plaintiffs’ Complaint.

       8.     Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit the allegations

contained in paragraph 8 of the Plaintiffs’ Complaint.

       9.     Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit that there was

an accident on December 17, 2020. Joaquin Millar, CSC Logistics, Ro Trans Freight LLC

demand strict proof of the plaintiffs’ claims of alleged injuries and damages.

       10.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit the allegations

contained in paragraph 10 of the Plaintiffs’ Complaint.

       11.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC deny the allegations

contained in paragraph 11 of the Plaintiffs’ Complaint as stated. Joaquin Millar, CSC

Logistics, Ro Trans Freight LLC admit that there was an accident on December 17, 2020.

       12.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC deny the allegations

contained in paragraph 11 of the Plaintiffs’ Complaint as stated. Joaquin Millar, CSC

Logistics, Ro Trans Freight LLC admit that there was an accident on December 17, 2020.


                                             2
Case 1:22-cv-01019-JDB-jay Document 7 Filed 02/15/22 Page 3 of 6             PageID 110




       13.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit that the truck

was registered to CSC Logistics, that Joaquin Millar was employed by Ro Trans Freight

LLC, and that Joaquin Millar was authorized to drive the truck on December 17, 2020.

Joaquin Millar, CSC Logistics, Ro Trans Freight LLC demand strict proof of the remaining

allegations contained in paragraph 13 of the Plaintiffs’ Complaint.

       14.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC admit that the truck

was registered to CSC Logistics, that Joaquin Millar was employed by Ro Trans Freight

LLC, and that Joaquin Millar was authorized to drive the truck on December 17, 2020.

Joaquin Millar, CSC Logistics, Ro Trans Freight LLC demand strict proof of the remaining

allegations contained in paragraph 14 of the Plaintiffs’ Complaint.

       15.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC deny the allegations

contained in paragraph 15 of the Plaintiffs’ Complaint as stated and demand strict proof

thereof.

       16.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC are without knowledge

or information sufficient to form a belief as to the allegations contained in paragraph 16

of the Plaintiffs’ Complaint and demand strict proof thereof.

       17.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC are without knowledge

or information sufficient to form a belief as to the allegations contained in paragraph 17

of the Plaintiffs’ Complaint and demand strict proof thereof.

       18.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC are without knowledge

or information sufficient to form a belief as to the allegations contained in paragraph 18

of the Plaintiffs’ Complaint and demand strict proof thereof.




                                             3
Case 1:22-cv-01019-JDB-jay Document 7 Filed 02/15/22 Page 4 of 6               PageID 111




       19.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC are without knowledge

or information sufficient to form a belief as to the allegations contained in paragraph 19

of the Plaintiffs’ Complaint and demand strict proof thereof.

       20.    Joaquin Millar, CSC Logistics, Ro Trans Freight LLC are without knowledge

or information sufficient to form a belief as to the allegations contained in paragraph 20

of the Plaintiffs’ Complaint and demand strict proof thereof.

       21.    Any and all allegations contained within the Plaintiffs’ Complaint that have

not previously been specifically admitted or denied, are hereby denied.



                                 AFFIRMATIVE DEFENSES

        1.      The Plaintiffs’ Complaint fails to state a claim upon which relief can be

 granted.

        2.      The Plaintiffs’ Complaint and each count thereof may be time-barred, in

 whole or in part, under applicable statutes of limitations or statutes of repose.

        3.      The Plaintiffs’ Complaint may be barred, in whole or in part, because any

 alleged injury to Plaintiff(s) was not caused by the defendants.

        4.      The Plaintiffs’ Complaint and each count thereof may be barred, in whole

 or in part, because the alleged injuries or damages complained of by Plaintiffs were

 caused by the superseding and/or intervening acts and/or omissions of others for

 whose conduct the defendants are neither responsible nor liable and/or were pre-

 existing injuries.

        5.      Plaintiff's claims may be barred by a failure to mitigate.

        6.      To the extent the damages alleged in the Plaintiffs’ Complaint arose from


                                              4
Case 1:22-cv-01019-JDB-jay Document 7 Filed 02/15/22 Page 5 of 6            PageID 112




acts or omissions or comparative fault of others, including the plaintiff(s), Defendants

are not legally liable or responsible for those damages.

       7.     The injuries and damages alleged in the Plaintiffs’ Complaint were not

proximately caused by any act or omission of Defendants.

       8.     To the extent that other parties are at fault, Defendants assert that they

cannot be held responsible for any of the losses alleged by the Plaintiffs, if any, that

were caused or contributed to by the acts, omissions, or negligence of other parties

for which Defendants are not responsible under the doctrine of Comparative

Negligence and/or Comparative Fault.

       WHEREFORE, having fully answered Plaintiffs’ Complaint, Joaquin Millar, CSC

Logistics, and Ro Trans Freight LLC request that the Plaintiffs’ Complaint be

dismissed. In the alternative, Joaquin Millar, CSC Logistics, Ro Trans Freight LLC

demand a jury of twelve persons to try this cause, request the case to be tried pursuant

to Tennessee principals of comparative fault, and request such other and further relief

as this Court may deem appropriate.

                                        Respectfully submitted,

                                        SPICER RUDSTROM, PLLC

                                        /s/ Michael J. Vetter, Sr.____
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                                           5
Case 1:22-cv-01019-JDB-jay Document 7 Filed 02/15/22 Page 6 of 6              PageID 113




                              CERTIFICATE OF SERVICE

I hereby certify that on February 15th, 2022, the above captioned document was
electronically filed the foregoing with the Clerk of the Court using the CM/ECF system,
which will send a notice of electronic filing to those persons requesting notice, including
the following:

J. Mark Patey
112 South Liberty Street, Suite 222
Jackson, TN 38301
pateylaw@eplus.net


                                         /s/ Michael J. Vetter, Sr.____
                                         Michael J. Vetter, Sr.




                                            6
